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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


UNITED STATES OF AMERICA,


vs.                                                       CASE NO. 8:89-CR-4-T-17


AZELL J. MACON
                                        /

                                             ORDER

        This cause comes before the Court on the defendant’s motion for modification of
sentence, the requested modification was based on the retroactive application of revised cocaine
base sentencing guidelines (Docket No. 880). The Court appointed counsel in this case and
required responses from the United States Probation Office, the government, and the defendant
through his appointed counsel. The Court has received and reviewed the responses (Docket Nos.
886 and 927 and Probation’s Retroactive Crack Cocaine Amendment Eligibility Assessment, as
amended). The government and probation agree is not eligible for a reduction in sentence based
on the amended guidelines and the defendant agrees that there has not been an actual change in
the defendant’s base offense level. Accordingly, it is.


        ORDERED that defendant’s motion for modification of sentence, the requested
modification was based on the retroactive application of revised cocaine base sentencing
guidelines (Docket No. 880) be denied.


        DONE AND ORDERED in Chambers in Tampa, Florida this 12th day of September,
2008.
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Copies furnished to: All Counsel of Record
